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                                  Minutes of Proceedings
UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------------------------------------x
Date: April 16, 2019
----------------------------------------------------------------x
In re:                                                              Chapter 7

           Panos Papadopoulos Seretis,
                                                                    Case No. 18-11852-jlg
Debtor.

----------------------------------------------------------------x
Bonikos et al,


           Plaintiffs,
                                                                    Adv. Proceeding No. 18-01637-jlg
                    - against -

Seretis,

Defendant.

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Present:                   Hon. James L. Garrity, Jr., United States Bankruptcy Judge

Appearances:               Katherine R. Catanese, Counsel to Debtor

                           Robert L. Geltzer, Chapter 7 Trustee

                           Robert A. Wolf, Counsel to Chapter 7 Trustee

Proceedings:               Motion to Approve Compromise (Docket No. 14)

Order:                     The above matter is hereby adjourned to May 9, 2019 at 11:00 a.m.

                           On or before April 26, 2019, at 4:00 p.m., Counsel to the Debtor shall
                           provide declarations from the parties supporting the settlement to the
                           Chapter 7 Trustee.

                           On or before May 1, 2019, at 4:00 p.m., the Chapter 7 Trustee shall file a
                           response, if any, to the declarations. The Debtor may file a reply, if any,
                           to the Chapter 7 Trustee’s response on or before May 6, 2019, at 4:00 p.m.
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BY THE COURT:

      April 17, 2019
      New York, New York

                                         /s/ James L. Garrity, Jr.
                                         Honorable James L. Garrity, Jr.
                                         United States Bankruptcy Judge
